ROBINSON BROG LEINWAND GREENE
 GENOVESE & GLUCK P.C.
875 Third Avenue
New York, New York 10022
Fred B. Ringel
Clement Yee
Proposed Attorneys for the Debtor and Debtor in
Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                        Chapter 11

FMTB BH LLC,                                                  Case No: 18-42228-cec

                                       Debtor.
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                     DECLARATION IN SUPPORT OF DEBTOR’S
              APPLICATION FOR AUTHORIZATION TO RETAIN COUNSEL

Fred B. Ringel, declares, under penalty of perjury:

         1.         I am a shareholder of Robinson Brog Leinwand Greene Genovese & Gluck

P.C. (“Robinson Brog”). Robinson Brog maintains offices and a principal place of business at

875 Third Avenue, New York, New York 10022. I have been duly admitted to practice in the

United States District Court for the Eastern District of New York.

         2.         This declaration is submitted in support of the Debtor’s Application for

Authorization to Retain Counsel (the “Application”). Pursuant to the Application,

FMTB BH LLC (the “Debtor”), seeks to retain Robinson Brog to provide legal services in

connection with this case as more fully set forth below. I am the attorney at Robinson Brog who

will bear primary responsibility for this case. It is anticipated that certain services will be

performed by other partners and associates at Robinson Brog. The hourly rates charged by

associates for legal services range from $250.00 to $465.00 per hour. The hourly rate for the


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firm’s paralegals range from $175.00 to $300.00 per hour. Shareholders of Robinson Brog

charge hourly rates between from $400.00 and $700.00 for services to be rendered. Robinson

Brog generally adjusts its rates annually after providing appropriate notice to its clients and the

Court. I have read and I am familiar with the Bankruptcy Code, the Federal Rules of Bankruptcy

Procedure and the Local Bankruptcy Rules for the Eastern District of New York.

        3.      The Debtor seeks authorization to retain Robinson Brog as its general and

corporate counsel to represent it in this case and assist it in carrying out its duties as a debtor in

possession under Chapter 11 of the Bankruptcy Code. In that connection, the professional

services to be rendered by Robinson Brog in this case shall include, but shall not be limited to:

                (a)     providing advice to the Debtor with respect to its powers and
                        duties under the Bankruptcy Code in the continued operation of its
                        business and the management of its properties;

                (b)     negotiating with creditors of the Debtor, preparing a plan of
                        reorganization and taking the necessary legal steps to consummate
                        a plan, including, if necessary, negotiations with respect to
                        financing a plan;

                (c)     appearing before the various taxing authorities to work out a plan
                        to pay taxes owing in installments;

                (d)     preparing on the Debtor’s behalf necessary applications, motions,
                        answers, replies, discovery requests, forms of orders, reports and
                        other pleadings and legal documents;

                (e)     appearing before this Court to protect the interests of the Debtor
                        and its estate, and representing the Debtor in all matters pending
                        before this Court;

                (f)     performing all other legal services for the Debtor that may be
                        necessary herein; and

                (g)     assisting the Debtor in connection with all aspects of this
                        Chapter 11 case.
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          4.   I believe that Robinson Brog is in the best position to render such services to the

Debtor due to its extensive knowledge and experience with all aspects of practice in cases under

Title 11 of the United States Code (the “Bankruptcy Code”). Robinson Brog has successfully

shepherded numerous debtors through Chapter 11 reorganizations before this and other courts,

and I believe that Robinson Brog is well qualified to represent the Debtor in this case. I believe

Robinson Brog is competent to represent the interests of the Debtor herein in all proceedings

now pending or which may reasonably be expected to be pending in this Court in the foreseeable

future.

          5.   In connection with the filing of this chapter 11 case, Robinson Brog received a

payment of $40,000 for fees and expenses incurred pre-petition in connection with the

preparation of the bankruptcy filings and drafting an adversary proceeding which was

commenced on the petition date In addition, Robinson Brog holds a retainer in the amount of

$26,717, which will be applied towards postpetition fees and expenses upon approval of such

fees and expenses by the Bankruptcy Court.

          6.   There are no sums due to Robinson Brog on account of pre-petition services

rendered by the Firm. The Retainer held by the firm is not an evergreen retainer, and is

refundable if not earned and if the firm’s fees are not approved by the Court. Robinson Brog

does not have a fee splitting arrangement with any party.

          7.   Neither I nor any other shareholder or associate of Robinson Brog has represented

or now represents any entity in connection with this case other than the Debtor.

          8.   To the best of my information and belief, neither I nor Robinson Brog holds nor

represents any interest adverse to the Debtor in the matters upon which we are to be engaged.        I

believe that Robinson Brog, its partners and associates, are “disinterested persons” as that term is



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defined in Section 101(14) of the Bankruptcy Code. To the best of my knowledge, information

and belief, Robinson Brog has no connection with the Debtor (except for as stated herein), its

creditors, any other party in interest, its respective attorneys and accountants, the United States

Trustee, or any person employed in the office of the United States Trustee, and will not, at any

time, represent any other entity in connection with this case.

       9.      Robinson Brog strictly adheres to a conflict checking procedure, which involves

the attorney responsible for the engagement completing a Client/Matter Intake Report (the

“Intake Report”). The Intake Report requires the responsible attorney to list, to the extent such

information is available at that time, and again if additional information becomes available at a

later date, all parties involved in a specific matter, whether such parties are the proposed client or

any affiliate, any adverse parties and their counsel and any other interested party. The Intake

Report also allows the attorney to list specific, additional conflict search terms to be checked

against Robinson Brog’s client database. Robinson Brog’s time and billing software has a

special module for such conflict searches. Before a new client number is generated, the

accounting department processes the Intake Report through the conflicts module to determine if

there are any conflicts with present or former clients of the firm. If a search results in a match for

a potential conflict, the information is reviewed by the attorney and any relevant information is

set forth for disclosure under Bankruptcy Rule 2014.

       10.     Separate from and in addition to the Intake Report and database search set forth in

paragraph 9, personnel at Robinson Brog also prepare a list of new matters at the firm which

contain the client and affiliate names, known adverse parties, all other relevant parties and a brief

description of the substance of the engagement, along with the name of the attorney responsible

for the matter. This list is circulated by email to all attorneys in the firm. If any attorney



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recognizes a conflict or potential conflict, that attorney is required to immediately notify the

attorney responsible for the engagement who then determines if additional disclosures are

required to supplement those generated by the original conflict search. Accordingly, all new

matters at the firm undergo both a mechanical search by the conflicts software module against

the firm’s client database and an additional search through review by every attorney at the firm

through the circulation of the new matter list.

       11.     The processing of the Intake Report as described above and the firm wide

dissemination of the new matter client list disclosed no matters requiring disclosure under

Bankruptcy Rule 2014 or any other provision of the Bankruptcy Code.

       12.     The firm’s policy requires the continued monitoring of the case for any additional

information requiring supplemental disclosure. For example, if the Debtor was to amend its

schedules and statement of financial affairs, those filings would be reviewed by attorneys at the

firm and resubmitted through the procedures described above to uncover any additional conflicts.

In the event any additional potential conflicts are discovered, Robinson Brog will further

supplement this declaration to make the appropriate disclosures.

       I declare under penalty of perjury under the laws of the United States, pursuant to 28

U.S.C. § 1746, that the foregoing is true and correct.



                                                        /s/ Fred B. Ringel
                                                            Fred B. Ringel




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